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 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
                                   WESTERN DIVISION
 14
 15
    DISNEY ENTERPRISES, INC.;                    Case No. 2:20-cv-07274-GW-JPR
 16 PARAMOUNT PICTURES
    CORPORATION; AMAZON                          PLAINTIFFS’ NOTICE OF
 17 CONTENT SERVICES LLC;                        MOTION AND MOTION FOR
    WARNER BROS. ENTERTAINMENT
 18 INC.; UNIVERSAL CITY STUDIOS                 PRELIMINARY INJUNCTION;
    PRODUCTIONS LLLP; UNIVERSAL                  MEMORANDUM OF POINTS AND
 19 CONTENT PRODUCTIONS LLC;                     AUTHORITIES IN SUPPORT
    NETFLIX STUDIOS, LLC;
 20 COLUMBIA PICTURES                            THEREOF
    INDUSTRIES, INC.; and
 21 STUDIOCANAL S.A.S.,                          Judge:       Hon. George H. Wu
                 Plaintiffs,                     Date:        September 17, 2020
 22
                                                 Time:        8:30 a.m.
 23        vs.                                   Courtroom:   9D
 24 TTKN ENTERPRISES, LLC D/B/A                  Filed concurrently herewith:
    CRYSTAL CLEAR MEDIA; TODD
 25 SMITH; and TORI SMITH,                       (1) Declaration of Jan van Voorn
                                                 (2) Declaration of Steve Kang
 26              Defendants.
                                                 (3) Declaration of Rose Leda Ehler
 27                                              (4) [Proposed] Preliminary Injunction
 28                                              Trial Date: None Set
                                             1                 Case No. 2:20-cv-07274-GW-JPR
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   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2        PLEASE TAKE NOTICE that on September 17, 2020, at 8:30 a.m., or as
   3 soon thereafter as counsel may be heard,1 before the Honorable George H. Wu, in
   4 Courtroom 9D of the United States District Court for the Central District of
   5 California, located at First Street Courthouse, 350 W. First Street, Los Angeles,
   6 California 90012, Plaintiffs Disney Enterprises, Inc., Paramount Pictures
   7 Corporation, Amazon Content Services LLC, Warner Bros. Entertainment Inc.,
   8 Universal City Studios Productions LLLP, Universal Content Productions LLC,
   9 Netflix Studios, LLC, Columbia Pictures Industries, Inc., and Studiocanal S.A.S.
 10 (collectively, “Plaintiffs”), will, and hereby do, move for a Preliminary Injunction:
 11         [1]    enjoining Defendants TTKN Enterprises, LLC d/b/a Crystal Clear
 12 Media, Todd Smith, and Tori Smith (collectively, “Defendants”), and all individuals
 13 acting in concert or participation or privity with them, including Defendants’
 14 resellers, from publicly performing, reproducing, distributing, or otherwise
 15 infringing in any manner (including without limitation by materially contributing to
 16 or intentionally inducing the infringement of) any of Plaintiffs’ rights under the
 17 Copyright Act in any motion picture, the rights to which Plaintiffs own or control
 18 (“Copyrighted Works”).
 19         [2]    enjoining the respective domain name registrars for Defendants’
 20 Websites2 from allowing these domains to be modified, sold, transferred to another
 21 owner, or deleted, and also requiring them to disable access to the Websites.
 22
 23    1
      Plaintiffs have commenced this action and served this Motion to seek preliminary
 24 injunctive relief pending adjudication of their claims. However, without waiver or
    prejudice as to their assertion that the requested preliminary relief is necessary to
 25
    prevent irreparable harm to their rights, Plaintiffs defer to the Court as to the proper
 26 timing for this Motion in light of the exigent circumstances and limitations on
    judicial resources created by the current COVID-19 public health emergency.
 27
    2
      Defendants own and/or control several Internet domains (collectively “Websites”)
 28 used in their infringing enterprise, including infringement: ccbilling.org, cciptv.us,

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   1        This Motion is made on the following grounds as explained in the
   2 accompanying Memorandum of Points and Authorities and supporting papers:
   3 (1) Plaintiffs are likely to succeed on the merits because the evidence clearly shows
   4 that (a) Defendants, without authorization from Plaintiffs, transmit performances of
   5 the Copyrighted Works to members of the public, in violation of Plaintiffs’
   6 exclusive rights to publicly perform the Copyrighted Works, 17 U.S.C. § 106(4),
   7 and (b) Defendants are either directly or secondarily liable for the infringement of
   8 Plaintiffs’ exclusive reproduction rights in the unauthorized copying of the
   9 Copyrighted Works for Defendants’ 24/7 channels and VOD offerings, id. § 106(1);
 10 (2) absent a preliminary injunction, Plaintiffs will suffer irreparable harm, including
 11 with respect to their ability to exercise their exclusive rights, their relationships and
 12 goodwill with authorized licensees, and the development of the market for on-
 13 demand streaming; (3) the balance of the equities tips decidedly in Plaintiffs’ favor;
 14 and (4) an injunction is in the public interest.
 15         This Motion is based upon this Notice of Motion and Motion; the attached
 16 Memorandum of Points and Authorities; the Declarations of Jan van Voorn (“Van
 17 Voorn Decl.”), Steve Kang (“Kang Decl.”), and Rose Leda Ehler (“Ehler Decl.”)
 18 and Exhibits thereto; all documents on file in this action; and such further or
 19 additional evidence or argument as may be presented before or at the time of the
 20 hearing on this Motion.
 21
 22 DATED: August 14, 2020                  MUNGER, TOLLES & OLSON LLP
 23
 24
                                            By:        /s/ Rose Leda Ehler
 25
                                                ROSE LEDA EHLER
 26                                         Attorneys for Plaintiffs
 27
    ccmedia.one, ccreborn.one, ccultimate.one, crystalcleariptv.com, mediahosting.one,
 28 superstreamz.com, webplayer.us. Declaration of Jan Van Voorn ¶ 11.

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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2                                   INTRODUCTION
   3        Defendants TTKN Enterprises, LLC and its controlling members, Todd and
   4 Tori Smith own and operate Crystal Clear Media (“CCM”), an unauthorized online
   5 subscription streaming service that engages in mass infringement of Plaintiffs’
   6 Copyrighted Works. Defendants themselves, or through their expanding web of
   7 unauthorized resellers, sell their customers access to illegal streams of over 6,000
   8 live and curated programming channels and video-on-demand (“VOD”) streams of
   9 over 14,000 movies and 3,000 televisions series. Defendants’ offerings feature
 10 popular movies and television programs whose copyrights are owned or exclusively
 11 controlled by Plaintiffs (the “Copyrighted Works”), including, to name only a few,
 12 Disney’s Maleficent, Paramount’s The Truman Show, and Netflix’s A Series of
 13 Unfortunate Events.
 14         Defendants are not licensed to do any of these things. Instead Defendants
 15 blatantly infringe Plaintiffs’ rights under the Copyright Act. Their unauthorized
 16 streaming infringes Plaintiffs’ exclusive rights to publicly perform their Copyrighted
 17 Works, 17 U.S.C. § 106(4), and the creation of their title- or franchise-dedicated
 18 “24/7” channels and VOD service requires the mass unauthorized copying of the
 19 Copyrighted Works, in violation of Plaintiffs’ exclusive reproduction rights, id.,
 20 § 106(1).
 21         Defendants are the latest in a long line of illegal online streaming services that
 22 steal Plaintiffs’ content to reap ill-gotten profits. Plaintiffs have been forced to
 23 pursue multiple actions against such services, successfully seeking injunctive relief
 24 to stop this brazenly illegal activity.3 The same result should follow here.
 25
 26    3
     See Columbia Pictures Indus., Inc. v. Galindo (Nitro TV), No. 2:20-cv-03129-
 27 SVW-GJS, 2020 WL 3124347 (C.D. Cal. May 11, 2020) (preliminary injunction);
    See Paramount Pictures Corp. v. Omniverse World Television, Inc., No. 2:19-cv-
 28 01156-MWF-ASx, ECF No. 60 (C.D. Cal. Nov. 14, 2019) (permanent injunction);

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   1         The case for immediate injunctive relief here is overwhelming. Defendants
   2 are knowing infringers of Plaintiffs’ rights on a mass scale. Defendants have gone
   3 to great lengths to try to hide their illegal activity. They use a false “Virtual Reality
   4 Gaming” moniker to cover up their illegal VOD service—for example, Todd Smith
   5 has told customers that their “Virtual Reality Gaming” plan is “NOT a VR Gaming
   6 plan, it is really our VOD service.” And Defendants utilize a growing network of
   7 resellers, enticing third parties to aggressively market subscriptions to the CCM
   8 service for a share of their unlawful gains.
   9         Defendants’ illegal enterprise inflicts irreparable harm on Plaintiffs,
  10 undermining their relationships with licensees and the legitimate marketplace for
  11 authorized access to Copyrighted Works. That harm will worsen if Defendants’
  12 operations continue unchecked. Plaintiffs satisfy each of the Winter elements for
  13 preliminary injunctive relief and respectfully request the Court grant this motion and
  14 enter the concurrently filed proposed injunction.
  15                              FACTUAL BACKGROUND
  16         A.    Plaintiffs And Their Copyrighted Works
  17         Plaintiffs or their affiliates produce and distribute a significant portion of the
  18 world’s most popular movies and television programs. Declaration of Steven Kang
  19 (“Kang Decl.”) ¶ 4. The development, production, and distribution of these works
  20 requires substantial, ongoing investments. Id. ¶ 6. Copyright protection therefore is
  21 of critical importance to Plaintiffs’ ability to earn a return on their investments and
  22 to invest in new projects. Id. ¶¶ 6-7.
  23
  24 Amazon Content Servs., LLC v. Set Broad., LLC, No. 2:18-cv-03325-MWF-ASx,
  25 ECF No. 59 (C.D. Cal. July 31, 2019) (permanent injunction); Netflix v. Dragon
     Media Inc. (Dragon Box), No. 2:18-cv-00230-MWF-ASx, ECF No. 59 (C.D. Cal.
  26 Jan. 29, 2019) (permanent injunction); Disney Enterprises, Inc. v. VidAngel Inc.,
  27 No. 2:16-cv-04109-AB-PLAx, ECF No. 520 (C.D. Cal. Sept. 5, 2019) (permanent
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  28 07496-MWF-ASx, ECF No. 72 (C.D. Cal. Sept. 12, 2018) (permanent injunction).

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   1        Plaintiffs or their affiliates own or control the exclusive rights to reproduce,
   2 distribute, and publicly perform the Copyrighted Works, including by means of
   3 streaming performances of the Copyrighted Works over the Internet. Declaration of
   4 Rose Leda Ehler ¶¶ 2-43, Exs. 1-42; Kang Decl. ¶ 4. Plaintiffs authorize the
   5 legitimate distribution and public performance of the Copyrighted Works in various
   6 formats and through multiple distribution channels, including through cable and
   7 direct-to-home satellite services, authorized Internet VOD services, and authorized
   8 Internet or over-the-top (“OTT”) streaming services, among many others. Id. ¶¶ 7-
   9 8.
  10        Plaintiffs have not licensed Defendants to exercise any of their rights to the
  11 Copyrighted Works. Id. ¶ 4; Declaration of Jan van Voorn (“Van Voorn Decl.”) ¶ 8.
  12        B.     Defendants’ Infringing Service—Crystal Clear Media
  13        Defendants own and operate Crystal Clear Media (“CCM”), an online
  14 streaming service that provides subscribers with infringing streams of Plaintiffs’
  15 Copyrighted Works (and the copyrighted works of many other parties as well). Van
  16 Voorn Decl. ¶¶ 11–15, Exs.1–4. Defendants’ subscribers access infringing content
  17 through a web-based platform or CCM applications for use on smart TVs or mobile
  18 phones (collectively the “CCM Platforms”). Id. ¶¶ 7–8, 20, Ex. 8. Defendants offer
  19 two infringing options: (1) Internet protocol television (“IPTV”) and (2) VOD. See
  20 generally id. ¶¶ 16–31, Exs. 5–16.
  21               1.    Defendants’ Infringing IPTV Service
  22        Defendants’ IPTV service live-streams thousands of pre-programmed
  23 channels. Many of these are hijacked from legitimate channels, such as ABC, NBC,
  24 National Geographic, HBO and others, transmitted through licensed commercial
  25 providers, and then streamed by Defendants without authorization. Van Voorn
  26 Decl. ¶¶ 22–24, 27. Defendants also stream live transmissions of illegitimate “24/7”
  27 channels, which have been curated from illegitimate copies of popular television
  28

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   1 programs and movie franchises and then streamed around-the-clock by Defendants.
   2 Id. ¶¶ 25–27.
   3        The IPTV service works as follows: Defendants sell their customers
   4 subscriptions to the IPTV service. Id. ¶ 17. Defendants sell the subscriptions
   5 through their own Website4 and through third-party resellers (discussed in further
   6 detail in Section C, infra). Id. Monthly subscription prices range from $14.99 to
   7 $39.99 per month, depending on the number of connections and channel offerings a
   8 user selects. Id. ¶¶ 17–18, Ex. 6.
   9        After buying a subscription, the customer gets login-credentials and detailed
  10 instructions for accessing the service. Id. ¶¶ 19–20, Exs. 7, 8. Following the
  11 instructions, subscribers can access this service through a variety of different CCM
  12 Platforms, including by downloading an application on their smart TV, mobile
  13 device, or logging on to a website. Id. ¶ 21, Ex. 9. Once logged into a CCM
  14 Platform, a subscriber can choose from a staggering number—now over 6,000—of
  15 live television channels. Id. ¶ 22, Ex. 10. The volume and channel offerings far
  16 exceed what a customer could obtain through a legitimate licensed service (let alone
  17 at the same price point). Kang Decl. ¶ 28. For example, Defendants stream live
  18 broadcast networks, which originate with authorized transmissions (but are streamed
  19 without authorization by Defendants). Van Voorn Decl. ¶ 23–24. These channels
  20 are streamed contemporaneously with the original source of the telecast, but unlike
  21 authorized transmissions, Defendants’ streams do not comply with geographic
  22 restrictions; as a result, subscribers in New York can watch channels available only
  23 in Los Angeles (and vice versa). Id. ¶ 23, Ex. 11. For no additional charge,
  24
       4
  25  The particular Website Defendants use to sell subscriptions is mediahosting.one.
     Van Voorn Decl. ¶¶ 17–18, Ex. 6. Defendants have previously used the domains
  26 crystalcleariptv.com, ccmedia.one, ccbilling.org, ccultimate.one, superstreamz.com
  27 and cciptv.us, to market and sell subscriptions. See id. ¶ 11. Finally webplayer.us
     hosts the web-based video player and ccmedia.one hosts the application through
  28 which customers can watch the unauthorized Copyrighted Works. Id. ¶ 20.

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   1 Defendants also offer paid cable channels like BET, Disney Channel, ESPN, FX,
   2 Paramount Network, SyFy and USA, and many others, as well as premium
   3 channels, like HBO and Showtime. Id. ¶ 24.
   4        Defendants also offer what they label as “24/7” channels. Id. ¶ 25. These
   5 24/7 channels continuously stream a single movie, all of the movies in a franchise or
   6 collection, or all of the episodes in a television series. Id. ¶ 25. By way of example,
   7 the 24/7 channel dedicated to Warner Bros.’s Just Mercy, streams that movie
   8 continuously. Id. ¶ 25, Ex. 12. These offerings necessarily involve making copies
   9 to provide the content that populates the channels. Id. ¶ 26; see Section I.B.2, infra.
  10 Defendants thereby provide their customers some of Plaintiffs’ most popular
  11 Copyrighted Works through their 24/7 channels, including Universal’s Mr. Robot
  12 television series, Netflix’s A Series of Unfortunate Events series, and Warner Bros.’s
  13 Harry Potter movies. Id. ¶ 25. Customers can also search within categories for
  14 specific television programs or movies that they would like to watch. Id. ¶ 22.
  15        Once a CCM subscriber clicks a channel offering—live-channel or 24/7—
  16 Defendants stream the content playing on that channel to the subscriber. Id. ¶¶ 23,
  17 25, Exs. 11, 12. The image below features Just Mercy (2019) streaming on the 24/7
  18 “Cinema: Just Mercy” channel:
  19
  20
  21
  22
  23
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   1
       Id. ¶ 25, Ex. 12.
   2
             Defendants are using their Websites and technology to transmit these
   3
       unauthorized streams. Id. ¶ 27. Indeed, the evidence shows that one of Defendants’
   4
       Website domains—ccreborn.one—is the source of the streams from Defendants’
   5
       IPTV to subscribers. Id. Defendants thus directly exercise Plaintiffs’ exclusive
   6
       right of public performance. See Argument, Section I.B.1, infra.
   7
                    2.     Defendants’ Infringing VOD Service
   8
             Defendants offer their VOD service as a $10-a-month add-on to the IPTV
   9
       subscription. Van Voorn Decl. ¶ 42. The VOD service allows subscribers to access
  10
       a vast library of copyrighted content—over 14,000 movies and 3,000 television
  11
       series (many of which include multiple seasons and multiple episodes per season)—
  12
       for immediate on-demand viewing. Id. ¶ 29, Ex. 15. Customers can choose from
  13
       numerous categories, such as “2020 Movies,” “Amazon Originals,” “Netflix
  14
       Originals,” “4K DC Universe,” and “Disney+.” Id.
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   1        When a customer selects a category, e.g., “TV Shows – Netflix Originals,” a
   2 list of titles (along with thumbnail images showing a theatrical poster or cover art
   3 for the title) appears on the customer’s screen. Id. ¶ 30, Ex. 16.
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  15 Another click and the subscriber can stream the movie, start to finish, through the
  16 CCM Platform. Id. ¶ 31. Providing a VOD service necessarily means that copies of
  17 the Copyrighted Works have been made and stored on servers, from which streams
  18 can be provided “on demand.” Id. ¶ 32; see Section I.B.2, infra.
  19        The Copyrighted Works provided via the VOD service include Amazon’s The
  20 Man in the High Castle and StudioCanal’s Paddington 2, among many others. See
  21 Complaint, Ex. A.
  22        C.     Defendants Rely On An Expanding Network Of Resellers To
                   Increase Subscribers And Profits
  23
  24        Defendants have expanded the scope of their unlawful commercial enterprise
  25 by creating and growing a network of resellers who market and promote the CCM
  26 service to attract new subscribers to the illegal service. Van Voorn Decl. ¶¶ 33, 35,
  27 Ex. 17. These resellers buy what Defendants euphemistically call “web hosting”
  28 plans. Id. Web hosting plans are actually bulk subscriber credentials. Defendants

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   1 sell these bundles of credentials at volume discounts, and the resellers then sell
   2 individual subscriptions to customers. Id. ¶ 34. For example, a reseller buying 25
   3 credits for $110.00 would pay a per credit price of $4.40; a “Pro” reseller purchasing
   4 200 credits for $620.00 would pay a per credit price of $3.10; and a “Max” reseller
   5 purchasing 1000 credits for $2,100.00 would pay a per credit price of $2.10. Id.
   6 ¶ 34, Ex. 6.
   7        Defendants’ reseller program plays a pivotal role in their infringing enterprise
   8 in several ways. First, the reseller program dramatically increases Defendants’
   9 customer-base and profits—more resellers means more customers buying illegal
  10 access to the Copyrighted Works and other copyrighted content, and more money
  11 flowing into Defendants’ pockets. See id. ¶¶ 33–34. Second, Defendants’ resellers
  12 market and promote CCM. Id. ¶ 34. For example, the following advertisement by
  13 StreamZ IPTV, which is “powered” by Crystal Clear Media, tells customers they
  14 provide the “Highest Quality” for the “Lowest Cost” and offer the “MOST
  15 RELIABLE ALTERNATIVE TO CABLE AND SATELLITE TV.” Id. ¶ 34, Ex.
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   1 Id. And third, Defendants use resellers to hide their illegal role as the orchestrators
   2 of the enterprise. Defendants have deleted their own marketing and promotional
   3 material that mention the CCM service in particular, in an apparent effort to cover
   4 their tracks after other defendants operating infringing IPTV services have faced
   5 litigation and been enjoined. Id. ¶¶ 39–41, Exs. 20, 21; see, e.g., Nitro TV, 2020
   6 WL 3124347, at *2 (enjoining another pirate defendant in May 2020). Their
   7 userbase and profits nevertheless continue to grow through their reseller network.
   8 Van Voorn Decl. ¶¶ 35–37, Exs. 17–19.
   9        D.     Defendants Know Their Unauthorized Service Is Illegal
  10        Defendants know they are breaking the law. Among other things, they have
  11 gone to great lengths to hide the fact they are offering an unauthorized VOD service,
  12 betraying Defendants’ knowledge that doing so is illegal. Van Voorn Decl. ¶¶ 41–
  13 42. On May 3, 2019, news broke via a popular website that a competing service,
  14 “Vader Streams,” was taken offline due to a piracy investigation. Id. ¶ 41. The
  15 same day the article was published, Defendants issued an urgent announcement,
  16 stating they would “BE ELIMINATING VOD, CATCHUP SERVICES, AND TV
  17 SERIES. THIS IS IN LIGHT OF RECENT EVENTS WHICH CAUSE US TO
  18 ALTER OUR BUSINESS MODEL.” Id. ¶ 41, Ex. 21. A “Crystal Clear” reseller
  19 later stated that the reason why “VOD, TV Series and Catch-up is gone” is because
  20 “[s]ervices got rid of VOD as they don’t want to end up like Vaders.” Id.
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   1         But Defendants did not actually stop providing their VOD offering. Instead,
   2 after announcing the VOD shutdown, Defendants continued to sell subscriptions to
   3 their VOD service for $10 a month under the false label of “Virtual Reality Gaming
   4 … Addon.” Id. ¶ 42, Ex. 22. The Virtual Reality Gaming label is a deliberate effort
   5 to hide what Defendants are really providing. Defendant Todd Smith has told
   6 customers via chat that this is “NOT a VR Gaming plan, it is really our VOD
   7 service.” Id.
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  18         In still further efforts to cover their tracks, Defendants have recently taken
  19 some of their Websites offline and moved their customer and reseller inquiries to
  20 private messaging, while still providing their infringing IPTV and VOD services.
  21 Id. ¶¶ 38–40. Defendants’ efforts to hide their infringing activity does not change
  22 the fact they are still engaged in a mass infringing scheme, but Defendants’
  23 subterfuge does show they are well aware they are running an illegal business.
  24                                       ARGUMENT
  25         The Copyright Act authorizes courts to grant injunctive relief “to prevent or
  26 restrain infringement of a copyright.” 17 U.S.C. § 502(a). Plaintiffs meet the
  27 standard for preliminary injunctive relief: “(1) [they are] likely to succeed on the
  28 merits, (2) [they are] likely to suffer irreparable harm in the absence of preliminary

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   1 relief, (3) the balance of equities tips in [their] favor, and (4) an injunction is in the
   2 public interest.” Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir.
   3 2017) (internal quotations omitted) (quoting Winter v. Nat. Res. Def. Council, Inc.,
   4 555 U.S. 7, 20 (2008)).
   5 I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
   6         Plaintiffs will succeed on the merits of their infringement claim because they
   7 easily establish the elements of (1) “show[ing] ownership of the allegedly infringed
   8 material” and (2) “demonstrat[ing] that the alleged infringers violate at least one
   9 exclusive right granted to copyright holders under 17 U.S.C. § 106.” VidAngel, 869
  10 F.3d at 856 (quoting Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1159 (9th
  11 Cir. 2007)). Defendants are violating two of Plaintiffs’ exclusive rights—the right
  12 to publicly perform and the right to reproduce Plaintiffs’ Copyrighted Works. Each
  13 violation alone is sufficient to support the requested injunctive relief. See A&M
  14 Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).
  15         A.     Plaintiffs Own Or Control Valid Copyrights In The Works That
                    Defendants Exploit
  16
  17         Plaintiffs have included certificates of registration issued by the Copyright
  18 Office for the Copyrighted Works identified in the Complaint with this filing.
  19 Declaration of Rose Leda Ehler, ¶¶ 2-43; Exs. 1-42. The certificates create a
  20 presumption of copyright validity and ownership. 17 U.S.C. § 410(c); United
  21 Fabrics Int’l, Inc. v. C&J Wear, Inc., 630 F.3d 1255, 1257 (9th Cir. 2011).
  22 Plaintiffs’ showing establishes ownership. See, e.g., TickBox, 2018 WL 1568698, at
  23 *7 (citing attached copyright registration certificates for proof that “Plaintiffs have
  24 demonstrated that they own the allegedly infringed material”); Disney Enters., Inc.
  25 v. VidAngel, Inc. (VidAngel I), 224 F. Supp. 3d 957, 969 (C.D. Cal. 2016)
  26 (“Plaintiffs have sufficiently demonstrated ownership of the copyrighted works
  27 identified in the complaint by providing certificates of registration issued by the
  28 Copyright Office.”), aff’d, 869 F.3d 848 (9th Cir. 2017).

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   1         B.    Defendants’ Infringe Plaintiffs’ Exclusive Rights
   2               1.     Defendants Publicly Perform Plaintiffs’ Copyrighted Works
                          And Are Directly Liable For Infringement
   3
   4         Plaintiffs have the exclusive right, among others, “to perform the
   5 [C]opyrighted [W]orks publicly.”5 17 U.S.C. § 106(4). Streaming copyrighted
   6 movies and television programs over the Internet to customers without the copyright
   7 holder’s authorization violates the exclusive public performance right. See, e.g.,
   8 Am. Broad. Cos., Inc. v. Aereo, Inc., 573 U.S. 431, 431 (2014) (finding Internet
   9 streaming constitutes public performance); VidAngel I, 224 F. Supp. 3d at 970–71
  10 (streaming motion pictures from master copies constituted “publicly performing”);
  11 Nitro TV, 2020 WL 3124347, at *2 (“The internet streaming of full copyrighted
  12 works without authorization constitutes a violation of this exclusive right.”);
  13 TickBox, 2018 WL 1568698, at *9 (C.D. Cal. Jan. 30, 2018) (“Broadcasting
  14 copyrighted video content to the public over the internet without authorization
  15 infringes upon the copyright owner’s public performance right.”); Fox Television
  16 Stations, Inc. v. BarryDriller Content Sys., PLC, 915 F. Supp. 2d 1138, 1151 (C.D.
  17 Cal. 2012) (enjoining defendant streaming service from “retransmitting, streaming,
  18 or otherwise publicly performing” plaintiffs’ copyrighted works); Warner Bros.
  19 Entm’t Inc. v. WTV Sys., Inc. (Zediva), 824 F. Supp. 2d 1003, 1006–07, 1010–11
  20 (C.D. Cal. 2011) (holding service violated public performance right by streaming
  21 contents of DVDs from DVD players purportedly assigned to individual users).
  22         Defendants’ streaming of the Copyrighted Works violates the public
  23 performance right. Analysis of the streams through the CCM Platforms (both the
  24
       5
  25   A party performs a work publicly when it “transmit[s] or otherwise
     communicate[s] a performance . . . of the work . . . to the public, by means of any
  26 device or process, whether the members of the public capable of receiving the
  27 performance . . . receive it in the same place or in separate places and at the same
     time or at different times.” Id. § 101(2) (definition of “[t]o perform . . . a work
  28 ‘publicly’”).

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   1 website interface (webplayer.us) and the downloadable application) shows that the
   2 stream is coming from Defendants’ website ccreborn.one. Id. ¶ 27.6 Defendants
   3 thus violate the public performance right directly by transmitting performances of
   4 the Copyrighted Works to a public audience. See Nat’l Football League v.
   5 PrimeTime 24 Joint Venture, 211 F.3d 10, 11 (2d Cir. 2000) (“a public performance
   6 . . . includes ‘each step in the process by which a protected work wends its way to its
   7 audience’”).7
   8               2.     Defendants Are Responsible For The Infringing
                          Reproduction Of Plaintiffs’ Copyrighted Works
   9
                          (a)   Defendants’ 24/7 Channels And VOD Service
  10                            Necessarily Require The Unauthorized Copying Of
                                Plaintiffs’ Copyrighted Works
  11
  12         Plaintiffs have the exclusive right “to reproduce” their works, 17 U.S.C.
  13 § 106(1), which includes the right to create digital copies. See, e.g., Napster, 239
  14 F.3d at 1014 (“download[ing] files containing copyrighted music violate[s]
  15 plaintiffs’ reproduction rights”); Disney Enters., Inc. v. VidAngel, Inc., 371 F .Supp.
  16 3d 708, 717 (C.D. Cal. 2019) (“extract[ing] data files” and “creat[ing] ‘locally
  17 cached’ file[]” is copying); Nitro TV, 2020 WL 3124347, at *2 (preliminarily
  18 enjoining similar service offering 24/7 channels and VOD because “digitally
  19 reproducing the Copyrighted Works on Nitro TV violates Plaintiffs’ reproduction
  20
  21   6
         The declaration from Plaintiffs’ investigator provides proof of Defendants’
  22   infringing conduct. See Arista Records LLC v. Lime Group LLC, No. 06 CV 5936
       (KMW), 2011 WL 1641978, at *8 (S.D.N.Y. Apr. 29, 2011) (“Courts have
  23
       consistently relied upon evidence of downloads by a plaintiff’s investigator to
  24   establish both unauthorized copying and distribution of a plaintiff’s work.”)
       (collecting cases); Arista Records LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124,
  25
       150 n.16 (S.D.N.Y. 2009) (“Courts routinely base findings of infringement on the
  26   actions of plaintiffs’ investigators.”).
       7
  27  To the extent Defendants are not directly liable for infringing the public
     performance right, they are secondarily liable for the same reasons discussed in
  28 subsection 2, infra.

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   1 right.”). To create and offer Defendants’ 24/7 channels and VOD library, third
   2 parties, acting in concert with Defendants, must create unauthorized copies of
   3 Plaintiffs’ Copyrighted Works, thereby necessarily infringing Plaintiffs’
   4 reproduction rights.
   5        The 24/7 channels continuously stream a single movie (e.g., Just Mercy), all
   6 of the movies in a franchise or collection (e.g., all of the Harry Potter movies), or all
   7 of the episodes in a television series (e.g., The Office). Van Voorn Decl. ¶ 25.
   8 Unlike the unauthorized streaming of live offerings (e.g., Disney Channel,
   9 Paramount Network, and FX) that are appropriated from other distributors and
  10 streamed contemporaneously with the original source of the telecast via the CCM
  11 Platforms, the 24/7 channels are not restreamed broadcast channels. Id. ¶ 26.
  12 Indeed, these 24/7 channels are not an offering that can be obtained through a
  13 legitimate live broadcast or transmission service—they necessarily must have been
  14 specially compiled. Id. Creating the compilations necessarily entails reproducing
  15 copies of the relevant movie(s) or television program(s) to assemble them in order to
  16 be streamed in a continuous loop for the purpose of transmitting them nonstop to
  17 CCM subscribers via the CCM Platforms. Id.
  18        Defendants’ VOD service likewise depends on a library of digital copies of
  19 the Copyrighted Works. Id. ¶ 32. The content library necessarily was copied and is
  20 stored on servers, which must be accessed for Defendants to provide “on demand”
  21 streams at the moment their subscribers request those streams. Id.
  22                      (b)   Defendants Are Secondarily Liable For The
                                Infringement Of Plaintiffs’ Reproduction Rights
  23
  24        Defendants are responsible for the third parties’ copying of Plaintiffs’
  25 Copyrighted Works under well-established doctrines of secondary liability. Indirect
  26 infringement theories of liability—either contributory infringement or inducement—
  27 each provide an independent basis to support an injunction. See, e.g., TickBox, 2018
  28 WL 1568698, at *8 (granting preliminary injunction on basis of likelihood to

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   1 succeed on inducement to infringe claim); see also Dragon Box, 2018 WL 7891027,
   2 at *4 (issuing order to show cause why preliminary injunction should not issue
   3 because “the Court is persuaded that all four elements set forth in Fung are likely
   4 satisfied”).
   5         Contributory Infringement is established where the defendant “has
   6 knowledge of another’s infringement” and “materially contributes” to that
   7 infringement. VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 745 (9th Cir. 2019)
   8 (citation omitted). Both elements are plainly satisfied here.
   9         First, the knowledge element is satisfied if a defendant, inter alia, knows or
  10 has reason to know of the underlying infringing activity. Napster, 239 F.3d at 1020
  11 (finding knowledge element satisfied). Defendants obviously know that Plaintiffs’
  12 works are being copied without authorization to fuel the 24/7 channels and VOD
  13 offerings. Defendants utilize misleading labels, such as “Server,” “Web Hosting
  14 Plans,” and “Virtual Reality Gaming” (for their IPTV subscriptions, reseller credits,
  15 and VOD offerings, respectively), to hide their illegal activity from detection.
  16 Defendants have taken steps to hide their tracks and anonymize their operations—
  17 including by deleting their prior Facebook groups, YouTube marketing channel, and
  18 Reddit group, and moving their customer support and reseller discussion groups to
  19 private channels. Van Voorn Decl. ¶¶ 37–41. These actions are further proof that
  20 Defendants know the nature of their offering, including the copying necessary to
  21 fuel the 24/7 channels and VOD service, are infringing. See Elsevier Inc. v. Stew
  22 Yee Chew, No. 17 civ. 6225 (JGK) (GWG), 2019 WL 74606, at *9 (S.D.N.Y. Jan. 2,
  23 2019) (finding infringement was willful where the defendant “attempted to change
  24 or conceal their identities to avoid detection”); Solid Host, NL v. Namecheap, Inc.,
  25 652 F. Supp. 2d 1092, 1096 (C.D. Cal. 2009) (noting that services that register
  26 domain names through a proxy to allow registrants to remain anonymous
  27 “[n]aturally . . . appeal to registrants who wish to conceal their identities for
  28 illegitimate purposes”).

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   1         Second, a defendant materially contributes to a third party’s direct
   2 infringement where the defendant “substantially assists websites to distribute their
   3 infringing copies to a worldwide audience and assists a worldwide audience of users
   4 to access infringing materials.” Perfect 10, Inc., 508 F.3d at 1172. This is exactly
   5 what Defendants are doing with their 24/7 channels and VOD service: Defendants’
   6 subscribers demand access to infringing streams that originate from infringing
   7 copies of Plaintiffs’ Copyrighted Works. See, e.g., Napster, 239 F.3d at 1022–23;
   8 Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir. 1996)
   9 (“[P]roviding the site and facilities for known infringing activity is sufficient to
  10 establish contributory liability.”). By delivering subscribers demanding access to
  11 infringing copies, Defendants materially contribute to third parties’ making those
  12 copies. That suffices to establish material contribution. Perfect 10, 508 F.3d at
  13 1172.
  14         Inducement to Infringe is established where (i) the Defendant distributes “a
  15 device or product,” including “providing some service used in accomplishing the
  16 infringement”; (ii) a third party engages in “acts of infringement”; (iii) the
  17 Defendant has “an object” of “promoting [the device’s or product’s] use to infringe
  18 copyright”; and (iv) “causation” of infringement. Columbia Pictures Indus., Inc. v.
  19 Fung, 710 F.3d 1020, 1032 (9th Cir. 2013) (citing Metro-Goldwyn-Mayer Studios
  20 Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005)).
  21     1. Distribution of Product: Defendants distribute the CCM Platforms that
  22         provides end users with unauthorized access to copyrighted content, Van
  23         Voorn Decl. ¶¶ 7, 27; see TickBox, 2018 WL 1568698, at *8 (“one may be
  24         liable for copyright infringement under the Grokster inducement theory if . . .
  25         he provides a service that facilitates copyright infringement” (citing Fung,
  26         710 F.3d at 1033)).
  27     2. Direct Infringement: The creation of the 24/7 channels and the library of
  28         VOD content necessarily requires those individuals and entities responsible to

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   1        make and store copies, in violation of the reproduction right. Van Voorn
   2        Decl. ¶ 26; see TickBox, 2018 WL 1568698, at *10 (element satisfied when
   3        “defendant’s device or service is funneling users to third parties that are
   4        directly infringing upon the plaintiffs’ exclusive rights under the Copyright
   5        Act (i.e., displaying copyrighted images or broadcasting copyrighted video
   6        content)”).
   7     3. Object of Promotion Is Infringement: Defendants are clearly acting “with
   8        the object of promoting [the CCM service] use to infringe copyright,” as
   9        shown by “affirmative steps taken to foster infringement.” Grokster, 545
  10        U.S. at 936–37. Before relying on their resellers for marketing, Defendants
  11        promoted their service as “the highest quality streams at the most affordable
  12        prices!” Van Voorn Decl. ¶ 16, Ex. 5. Such advertising is “the classic
  13        instance of inducement.” Grockster, 545 U.S. at 937. Defendants have
  14        moved to a model of relying on the resellers to do Defendants’ “dirty work”
  15        of marketing the illegal service, but Defendants’ object is still to promote the
  16        use of their services to infringe. Van Voorn Decl. ¶ 35, Ex. 17 (image of
  17        reseller marketing). These resellers claim, for example, that they provide an
  18        “the lowest cost, highest quality, most reliable alternative to cable and
  19        satellite tv.” Id. And they aggressively market the infringing services for
  20        Defendants’ benefit in terms of increased profits—which is exactly how
  21        Defendants intend for the system to work. Defendants’ profits are driven by
  22        the volume of subscribers. See Fung, 710 F.3d at 1037 (“The more users who
  23        visit [Defendant] Fung’s websites and view the advertisements supplied by
  24        Fung’s business partners, the greater the revenues to Fung.”); see also
  25
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   1          TickBox, 2018 WL 1568698, at *11 (profits derived from infringement
   2          relevant to this factor).8
   3       4. Causation: The causation element is plainly satisfied based on the evidence
   4          of Defendants’ role in the infringing enterprise. Fung, 710 F.3d at 1037 (“[I]f
   5          one provides a service that could be used to infringe copyrights, with the
   6          manifested intent that the service actually be used in that manner, that person
   7          is liable for the infringement that occurs through the use of the service.”); see
   8          also China Cent. Television v. Create New Tech. (HK) Ltd., No. CV 15-
   9          01869-MMM-MRWx, 2015 WL 3649187, at *10 (C.D. Cal. June 11, 2015)
  10          (“defendants are the but-for cause of [the] infringement, i.e., their distribution
  11          and promotion of the Infringing TVpad Apps is the mechanism that makes
  12          that infringement by a large number of users possible.”).
  13 Defendants are, at a minimum, secondarily liable for their conduct.9
  14 II.      PLAINTIFFS WILL SUFFER IRREPARABLE HARM ABSENT AN
              INJUNCTION
  15
  16          Defendants have already inflicted irreparable harms on Plaintiffs and will
  17 continue to do so until they are enjoined. Courts have found irreparable harm
  18 threatened by similar infringing online streaming services. See, e.g., WPIX, Inc. v.
  19 ivi, Inc., 691 F. 3d 275, 285–87 (2d Cir. 2012) (finding extensive irreparable harms
  20 caused by unlicensed Internet retransmissions of live television channels);
  21
  22
       8
       Moreover, Defendants provide customer support and detailed “instructions to
  23
     [CCM subscribers] concerning how to effectively access copyrighted material,”
  24 which also shows Defendants’ object to promote infringement. TickBox, 2018 WL
     1568698, at *11.
  25
     9
       Without further discovery, Plaintiffs cannot conclusively establish that Defendants
  26 directly make reproductions of the Copyrighted Works for the 24/7 channels and
  27 VOD service. Based on circumstantial evidence and other anti-piracy
     investigations, Plaintiffs are informed and believe that Defendants play a role in the
  28 unauthorized reproduction and reserve this claim for summary judgment.

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   1 BarryDriller, 915 F. Supp. 2d at 1147 (same); Nitro TV, 2020 WL 3124347, at *2
   2 (finding Plaintiffs’ demonstrated irreparable harm for similar IPTV and VOD
   3 service).
   4         First, Defendants and the CCM service interfere with Plaintiffs’ basic right as
   5 the copyright holders to control “when, where, to whom, and for how much they
   6 will authorize transmission of their Copyrighted Works to the public.” Zediva, 824
   7 F. Supp. 2d at 1012. Defendants usurp Plaintiffs’ control over the exercise of their
   8 exclusive rights by interfering with Plaintiffs’ distribution strategies, particularly
   9 their right to structure the offering of their Copyrighted Works to the public through
  10 downstream services, often by exclusive licenses and/or varying the time and
  11 medium by which a particular Copyrighted Work is available (known as
  12 “windowing”). Kang Decl. ¶¶ 7-11, 13-15, 18-22. Defendants directly interfere
  13 with Plaintiffs’ distribution strategies in at least three ways: (1) Defendants offer
  14 more channels and content than are available on any legitimate service, over 6,000
  15 live and title-curated channels and massive library of VOD content (over 14,000
  16 movies and 3,000 TV series, which often include multiple seasons and episodes per
  17 series),Van Voorn Decl. ¶¶ 22, 29; (2) Defendants do not honor geographic
  18 restrictions and thus stream numerous versions of the ABC, CBS, CW, NBC, and
  19 FOX channels from multiple cities across the U.S. to all CCM subscribers wherever
  20 they are located, exceeding the licensed offerings on legitimate cable or satellite
  21 providers, id. ¶ 23, Ex. 11; and (3) Defendants’ 24/7 channels offer a format that
  22 Plaintiffs do not license—a “live” transmission of unauthorized copies of an entire
  23 movie franchise or TV series, via the CCM Platforms, when no similar offering is
  24 available via licensed cable or satellite providers, id. ¶ 25. As courts have
  25 confirmed repeatedly, Defendants’ operation of the CCM “infringing service
  26 without the normal licensing restrictions imposed by Plaintiffs . . . interfere[s] with
  27 Plaintiffs’ ability to control the use and transmission of their Copyrighted works,
  28 thereby, causing irreparable injury.” VidAngel I, 224 F. Supp. 3d at 975 (quoting

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   1 Zediva, 824 F. Supp. 2d at 1012–13); Nitro TV, 2020 WL 3124347, at *2 (“Not only
   2 is Defendant directly infringing Plaintiffs’ copyrights, creating a financial loss to
   3 Plaintiffs, but Plaintiffs have provided evidence that the unlawfully distributed
   4 Copyrighted Works may undermine the value of Plaintiffs' legitimate licenses.”).
   5         Second, unless enjoined, Defendants will interfere with Plaintiffs’ existing
   6 relationships and goodwill with legitimate online services. These legitimate
   7 services negotiate their licenses and abide by contractual restrictions. Kang Decl.
   8 ¶ 22. Defendants interfere with these restrictions. Id. ¶¶ 23, 28-29. For example,
   9 the 24/7 channels offer recently released movies that are not widely available, such
  10 as Disney’s Artemis Fowl (2020), Paramount’s Like a Boss (2020), and Columbia
  11 Picture’s Bad Boys for Life (2020). Compl. Ex. A (citing recent releases). This
  12 unfair competition undermines Plaintiffs’ relationships and their goodwill with
  13 licensees: “If Defendants can transmit Plaintiffs’ content without paying a fee,
  14 Plaintiffs’ existing and prospective licensees will demand concessions to make up
  15 the loss of viewership to non-paying alternatives.” BarryDriller, 915 F. Supp. 2d at
  16 1147; see also VidAngel I, 224 F. Supp. 3d at 975 (“Because VidAngel operates
  17 without any license and performs Plaintiffs' works during negotiated exclusivity
  18 periods it interferes with Plaintiffs' exercise of their exclusive rights and frustrates
  19 Plaintiffs' ability to negotiate for similar rights in the future.”); Zediva, 824 F. Supp.
  20 2d at 1012–13 (finding unlicensed streaming “jeopardize[d] the continued existence
  21 of Plaintiffs’ licensees’ businesses” and harmed plaintiffs’ goodwill with its
  22 licensees).
  23         Third, the operation and existence of the CCM service is contributing to
  24 consumer confusion regarding what is lawful and what is not by misleading
  25 customers into believing that CCM is also legitimate. Van Voorn Decl. Ex. 17 (“Is
  26 SuperStreamz IPTV Legal? Yes, in the United States streaming content is legal.”).
  27 This harms the market for legitimate services by drawing users—not knowing they
  28 are accessing content without authorization and attracted by the too-good-to-be-true

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   1 price—away from Plaintiffs’ licensees. See Zediva, 824 F. Supp. 2d at 1013
   2 (finding that defendants’ service threatened “to create incorrect but lasting
   3 impressions with consumers about what constitute[d] lawful video on demand
   4 exploitation” of copyrighted works); Nitro TV, 2020 WL 3124347, at *2
   5 (unauthorized IPTV and VOD service could “also lead to unquantifiable customer
   6 confusion and an overall diminution of value of the Copyrighted Works”).
   7         Finally, monetary damages will not adequately compensate Plaintiffs for the
   8 loss of control over the Copyrighted Works, the damage to their business goodwill,
   9 and harm to the continued advancement of the legitimate online market for
  10 distribution of creative works. Kang Decl. ¶ 33; see TickBox, 2018 WL 1568698, at
  11 *13 (“[I]t is unlikely that money damages could adequately compensate for
  12 difficult-to-quantify harms to Plaintiffs’ business models and relationships” from
  13 unauthorized streaming.). Money damages also are inadequate because there is no
  14 reasonable prospect that Defendants will be able to satisfy an award in this case.
  15 The statutory damages for each work infringed through Defendants’ willful
  16 inducement may be as much as $150,000. 17 U.S.C. § 504(c). Plaintiffs
  17 collectively own thousands of Copyrighted Works, a substantial number of which
  18 have been infringed as the result of Defendants’ illegal conduct. Defendants
  19 therefore will be responsible for a damages award far in excess of their ability to
  20 pay. See, e.g., BarryDriller, 915 F. Supp. 2d at 1147; Metro-Goldwyn-Mayer
  21 Studios Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1217 (C.D. Cal. 2007) (“[A]n
  22 award of monetary damages will be meaningless, and the plaintiff will have no
  23 substantive relief, where it will be impossible to collect an award for past and/or
  24 future infringements perpetrated by a defendant.”).
  25         The scope of foregoing harms caused by Defendants and those acting in
  26 concert with them continues to grow, as Defendants’ reseller network expands.
  27 Kang Decl. ¶ 25. Since Defendants have gone underground, it has become more
  28 difficult to identify those resellers associated with the CCM Service, but Plaintiffs

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   1 are aware of a few dozen. Van Voorn Decl. ¶ 37 (listing known resellers). And
   2 Todd Smith has bragged to customers that Defendants have “sellers all over the
   3 world.” Id. ¶ 36. This number is likely to continue to grow.
   4 III.    THE BALANCE OF HARDSHIPS TIPS SHARPLY IN PLAINTIFFS’
             FAVOR
   5
   6         Before issuing a preliminary injunction, a court “must balance the competing
   7 claims of injury and must consider the effect on each party of the granting or
   8 withholding of the requested relief.” Winter, 555 U.S. at 24 (citation omitted).
   9         The threat of harm to Plaintiffs is substantial. See Section II, supra. By
  10 contrast, Defendants “cannot complain of the harm that will befall it when properly
  11 forced to desist from its infringing activities.” Triad Sys. Corp. v. Se. Express Co.,
  12 64 F.3d 1330, 1338 (9th Cir. 1995), superseded by statute on other grounds, 17
  13 U.S.C. § 117(c); see Cadence Design Sys., Inc. v. Avant! Corp., 125 F.3d 824, 830
  14 (9th Cir. 1997) (“[W]here the only hardship that the defendant will suffer is lost
  15 profits from an activity which has been shown likely to be infringing, such an
  16 argument in defense merits little equitable consideration . . . .”) (citations omitted);
  17 Apple Inc. v. Psystar Corp., 673 F. Supp. 2d 943, 950 (N.D. Cal. 2009) (“Since
  18 [small start-up defendant] does not (and cannot) claim any legitimate hardships as a
  19 result of being enjoined from committing unlawful activities, and Apple would
  20 suffer irreparable and immeasurable harms if an injunction were not issued, this
  21 factor weighs strongly in favor of Apple’s motion.”).
  22         The balance of hardship factor is decidedly in Plaintiffs’ favor.
  23 IV.     AN INJUNCTION WOULD SERVICE THE PUBLIC INTEREST
  24         The court must also consider whether the issuance of an injunction would be
  25 in the public interest. Winter, 555 U.S. at 24.
  26         Upholding copyright protection is in the public interest. See Eldred v.
  27 Ashcroft, 537 U.S. 186, 212 n.18 (2002) (“[t]he economic philosophy behind the
  28 [Copyright] [C]lause . . . is the conviction that encouragement of individual effort by

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   1 personal gain is the best way to advance public welfare through the talents of
   2 authors and inventors”) (citation omitted); VidAngel, 869 F.3d at 867 (“[T]he public
   3 has a compelling interest in protecting copyright owners’ marketable rights to their
   4 work and the economic incentive to continue creating television programming and
   5 motion pictures.”) (internal quotations and citation omitted); Kelly v. Primco Mgmt.,
   6 Inc., No. CV-1407263 BRO (SHx), 2015 WL 10990368, at *16 (C.D. Cal. Jan. 12,
   7 2015) (“[I]t is virtually axiomatic that the public interest can only be served by
   8 upholding copyright protections . . . .”). By contrast, “Defendant[s’] alleged
   9 copyright infringement does not offer any lawful benefit to the public.” Nitro TV,
  10 2020 WL 3124347, at *3.
  11                                           ***
  12         In sum, a preliminary injunction should issue because the Plaintiffs are likely
  13 to succeed on the merits, they stand to suffer irreparable harm, the balance of
  14 hardships between the parties supports the issuance of a preliminary injunction and
  15 such an injunction would be in the public interest.
  16                                 RELIEF REQUESTED
  17         A.    Plaintiffs Request An Injunction That Protects Their Copyrights
  18         Plaintiffs’ requested injunction has two parts: (1) prohibiting further
  19 infringement, including copying, streaming, or otherwise exercising any of
  20 Plaintiffs’ exclusive rights without authorization; and (2) temporarily freezing
  21 Defendants’ Websites so those Websites cannot be accessed or transferred during
  22 the pendency of this action.
  23         This injunction applies to Defendants and to those acting in concert with
  24 them, including their resellers which market and sell the illegal CCM service. Van
  25 Voorn Decl. ¶ 37 (list of previously identified resellers). Plaintiffs have learned,
  26 through unfortunate experience, that infringers—confronted with a lawsuit seeking
  27 to stop their ongoing infringement—are likely to transfer their operations to a close
  28

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   1 associate, such as a reseller10, or instruct their domain registrar to transfer their
   2 domain name to another entity not subject to the jurisdiction of this Court and revive
   3 their infringing activities using new servers and infrastructure. Courts ensure that
   4 the injunctive relief is sufficiently broad to avoid this result. See Nitro TV, 2020
   5 WL 3124347, at *3 (enjoining Namecheap, Inc. and Domain.com LLC from
   6 “allowing the Infringing Domain Names to be modified, sold, transferred to another
   7 owner, or deleted”); Showtime Networks Inc. v. Doe, No. 2:15-CV-03147-GW-
   8 MRW, 2015 WL 12646501, at *2 (C.D. Cal. Apr. 30, 2015) (temporary restraining
   9 order requiring all “hosts, registrars and name servers” to “suspend all services with
  10 respect to Defendants’ Infringing Websites” to prevent specific illegal streaming).
  11         B.     No Bond Should Be Required
  12         Plaintiffs request that the Court order that no bond is required. A security
  13 bond is not required when entering a preliminary injunction. Diaz v. Brewer, 656
  14 F.3d 1008, 1015 (9th Cir. 2011) (“The district court retains discretion ‘as to the
  15 amount of security required, if any.’”) (quoting Johnson v. Couturier, 572 F.3d
  16 1067, 1086 (9th Cir. 2009)). Any hardship Defendants face result from their
  17 voluntary decision to build a business around violating Plaintiffs’ rights. Plaintiffs
  18 respectfully submit that no security should be required.
  19                                      CONCLUSION
  20         For the foregoing reasons, Plaintiffs respectfully request that the Court grant
  21 the requested preliminary injunction.
  22
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       10
       Indeed, Defendants already attempted to publicly distance themselves from the
  26 VOD offerings (meanwhile offering it covertly as “Virtual Reality Gaming”).
  27 Publicly, Defendants referred customers to one of their resellers. Van Voorn Decl.
     ¶ 41, Ex. 21 (“If you are interested in adding VOD/Series as an addon please email
  28 Angie at vodstreamz@gmail.com”....).

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   2 DATED: August 14, 2020              MUNGER, TOLLES & OLSON LLP
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